 Case 2:12-cv-00691-WKW-MHT-WHP Document 297 Filed 11/13/15 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

ALABAMA LEGISLATIVE BLACK                 )
CAUCUS, et al.,                           )
                                          )
            Plaintiffs,                   )                CASE NO. 2:12-CV-691
                                          )                (Three-Judge Court)
      v.                                  )
                                          )
THE STATE OF ALABAMA, et al.,             )
                                          )
      Defendants.                         )
___________________________________________

ALABAMA DEMOCRATIC                                  )
CONFERENCE, et al.,                                 )
                                                    )
               Plaintiffs,                          )      CASE NO. 2:12-CV-1081
                                                    )      (Three-Judge Court)
       v.                                           )
                                                    )
THE STATE OF ALABAMA, et al.,                       )
                                                    )
       Defendants.                                  )

___________________________________________



                        DEFENDANT’S NOTICE OF FILING
                  OF ADDITIONAL SUPPLEMENTAL EXHIBITS 71-82


       Defendants give notice that they are filing the attached additional Defendants’

Supplemental Exhibits 71 through 82, in conjunction with their separately-filed brief in response

to the Plaintiffs’ post-remand plans:

       Def. Supp. Ex. 71 William Cooper deposition
       Def. Supp. Ex. 72 District Statistics Report, ADC Senate Plan
       Def. Supp. Ex. 73 Population Summary Report, ADC Senate Plan
       Def. Supp. Ex. 74 Assigned District Splits (County), ADC Senate Plan
Case 2:12-cv-00691-WKW-MHT-WHP Document 297 Filed 11/13/15 Page 2 of 4




    Def. Supp. Ex. 75 Assigned District Splits (Precinct), ADC Senate Plan
    Def. Supp. Ex. 76 District Statistics Report, ADC House Plan
    Def. Supp. Ex. 77 Population Summary Report, ADC House Plan
    Def. Supp. Ex. 78 Assigned District Splits (County), ADC House Plan
    Def. Supp. Ex. 79 Assigned District Splits (Precinct), ADC House Plan
    Def. Supp. Ex. 80 Assigned District Splits (County), ALBC House Plan
    Def. Supp. Ex. 81 Assigned District splits (County), ALBC Senate Plan
    Def. Supp. Ex. 82 Chart of counties included in ALBC districts




                             Respectfully submitted,

                             LUTHER STRANGE
                             Attorney General of Alabama

                             By:
                             s/ Andrew L. Brasher
                             Andrew L. Brasher (ASB-4325-W73B)
                             Solicitor General
                             Megan Kirkpatrick (ASB-2652-M66K)
                             James W. Davis (ASB-4063-I58J)
                             Misty S. Fairbanks Messick
                             Assistant Attorneys General
                             Office of the Attorney General
                             State of Alabama
                             Post Office Box 300152
                             Montgomery, AL 36130-0152
                             Telephone: 334-242-7300
                             abrasher@ago.state.al.us
                             mkirkpatrick@ago.state.al.us
                             jimdavis@ago.state.al.us
                             mmessick@ago.state.al.us

                             John J. Park, Jr. (ASB-xxxx-P62J)
                             Deputy Attorney General
                             Strickland Brockington Lewis LLP
                             Midtown Proscenium Suite 2200
                             1170 Peachtree Street NE
                             Atlanta, GA 30309
                             Telephone: 678-347-2200
Case 2:12-cv-00691-WKW-MHT-WHP Document 297 Filed 11/13/15 Page 3 of 4




                          Fax: 678-347-2210
                          jjp@sbllaw.net

                          Counsel for the State Defendants

                          David B. Byrne, Jr.
                          Legal Advisor to Governor Robert Bentley
                          Office of the Governor
                          Alabama State Capitol
                          600 Dexter Avenue, Suite NB-05
                          Montgomery, Alabama 36130
                          Telephone: 334-242-7120
                          Fax: 334-242-2335
                          david.byrne@governor.alabama.gov

                          Algert S. Agricola, Jr.
                          Ryals, Donaldson & Agricola, P.C.
                          60 Commerce Street, Suite 1400
                          Montgomery, Alabama 36104
                          Telephone: 334-834-5290
                          Fax: 334-834-5297
                          aagricola@rdafirm.com

                          Counsel for the State of Alabama and
                          Governor Bentley

                          s/ Dorman Walker
                          Dorman Walker (ASB-0717-R81J)
                          Balch & Bingham LLP
                          Post Office Box 78
                          Montgomery, AL 36101-0078
                          Telephone: 334-834-6500
                          Fax: 334-269-3115
                          dwalker@balch.com

                          Counsel for Defendants-Intervenors Jim
                          McClendon, Gerald Dial and Randy Davis
 Case 2:12-cv-00691-WKW-MHT-WHP Document 297 Filed 11/13/15 Page 4 of 4




                          CERTIFICATE OF SERVICE

       I hereby certify that, on November 13, 2015, I served the foregoing by
electronic mail on the following counsel of record:


James U. Blacksher                            William F. Patty
Attorney at Law                               The Gardner Firm, P.C.
Post Office Box 636                           Post Office Box 991
Birmingham, Alabama 35201                     Montgomery, Alabama 36101-0991
jblacksher@ns.sympatico.ca                    bpatty@thegardnerfirm.com

Edward Still                                  Walter S. Turner
Edward Still Law Firm LLC                     Walter S. Turner, Esq.
429 Green Springs Hwy, Ste 161-304            Post Office Box 6142
Birmingham, Alabama 35209                     Montgomery, Alabama 36106
still@votelaw.com                             wsthayer@juno.com

U.W. Clemon                                   John K. Tanner
White Arnold & Dowd, P.C.                     Attorney at Law
2025 Third Avenue North, Suite 500            3743 Military Road, NW
Birmingham, Alabama 35203                     Washington, DC 20015
uwclemon@whitearnolddowd.com                  john.k.tanner@gmail.com

James H. Anderson                             Richard H. Pildes
Joel T. Caldwell                              40 Washington Square South
Copeland, Franco, Screws & Gill, P.A.         New York, NY 10012-1005
Post Office Box 347
Montgomery, Alabama 36101-0347                Joe M. Reed
anderson@copelandfranco.com                   Joe M. Reed & Associates, LLC
caldwell@copelandfranco.com                   524 South Union Street
                                              Montgomery, Alabama 36104
                                              joemreed@wowway.net


                                s/ Andrew L. Brasher
                                Of Counsel




                                          4
